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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MONTANA
                            BILLINGS DIVISION


KORTNEY MCGEE,                                 Case No. CV-19-043-BLG-TJC

                     Plaintiff,                JUDGMENT IN A CIVIL CASE

  vs.

ANDREW SAUL, COMMISSIONER
OF SOCIAL SECURITY,

                     Defendant.


        Jury Verdict. This action came before the Court for a trial by jury. The
 issues have been tried and the jury has rendered its verdict.

 X     Decision by Court. This action came before the Court for bench trial,
 hearing, or determination on the record. A decision has been rendered.

 IT IS ORDERED AND ADJUDGED that the Commissioner’s decision is
 affirmed.

        Dated this 20th day of October 2020.

                                  TYLER P. GILMAN, CLERK

                                  By: /s/ Heidi Gauthier
                                  Heidi Gauthier, Deputy Clerk
